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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW. YORK.

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FELIPE F. VIVAR,

Plaintf |
ragainst-

CITY. OF NEW YORK, ANGEL BUSSUE,
JOHN DOE HRA EMPLOYEE #1,.

JOHN DOE POLICE OFFICERS #1-18,

JOHN DOE SECURITY GUARDS #14,
‘JOHN DOE PARAMEDICS #1-2, oo

NEW YORK PRESBYTERIAN HOSPITAL,
DINO DIAZ, VALERIE SOTO, RIVAS SEARS,
GRACIE SQUARE HOSPITAL and

DR, REBECCA KASTOPOULOUS, -

Defendants,

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Civil Action No: 18CV5987 (VSB)

MEMORANDUM OF LAW IN REPLY TO PLAINTIFF'S OPPOSITION

 

 

_ COMMUNITY SERVICE, INC. S’ PRE- ANSWER MOTION TO DISMISS

Submitted By:

~ Dana M. Ricci, Bsq,
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_ New York,NY 10170 .
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File No: 5339-4
_ Attorney for Defendants
Dino Diaz, Valerie Soto, Rivas Sears and.
Selfhelp Community Service, Ine.

 

-AND-IN FURTHER SUPPORT OF |  DEFENDANT-SELFHELP we
 

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Defendant Selfhelp Community Service, Inc. (hereinafter “Self Help”) respectfully
submits this Memorandum of Law in reply to plaintif? S$ Opposition and in further support of its

pre-answer motion to dismiss Plaintiff's Amended Complaint under the Federal Rules of Civil

Procedure.
A. Plaintiff's Opposition ‘Papers are devoid of any arguments or evidence. that
Defendant Self Help was a state actor as required to plaintiff a claim under Section
L 983

As set forth within our Memorandum of Law in Support, to assert a colorable claim under

42 U.S.C. § 1983, a plaintiff must allege two things: "(1) the conduct-complained of must have

been. committed by a-person acting under color of state law;.and (2) the conduct complained. of

must have deprived a person of rights, privileges, or immunities secured by the Constitution. or
laws of the United States." Pitchell v. Callan, 13 F.3d 545, 547 (2d Cit, 1994)(internal citation

omitted).

 

To establish that a private actor was acting under color of state law, plaintiff must show

that: (1) the individual was subjected to the coercive power of the state or otherwise controlled by

the state; (2) the conduct occurred in "joint action" or "close nexus" with the state; or (3) the

individual was performing a public function traditionally and exclusively exercised by the state;

See McGugan v. Aldana-Bernier, 752 F.3d 224, 229 (2d Cir, 2014).

 

Plaintif? s Amended Complaint failed to set forth any allegations that Defendant Self Help —
acted under color of state law. As ‘noted above, this is an essential element required to ‘asseit a
claim under 42 US.C. § 1983 and the absence of this element is fatal to the claim, In opposition,
plaintift failed to offer any additional evidence ai argument that Defendant Self Help acted under

color of state law. |

 
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Therefore, it is our unopposed position that Defendants, Dino Diaz, Valerie Soto and Rivas

Sears, were’ not acting under the color of state law in performing their tasks and obligations as.

| employees for the private entity, Defendant Self Help. For such reasons, plaintiff's claim under 42 _

U.S.C. § 1983 must be dismissed as a matter of law,
As. a final matter, plaintiffs opposition improperly references respondeat superior as a
basis. for maintaining a claim against Defendant Self Help under 42 U.S.C. § 1983. It is well-

established that the doctrine of respondeat. superior does not apply to claims arising under -42

—US.C, § 1983, See Dove y. City of New York, 2005 WL 2387587, A & D N Y, , September 28, -

. 2005), Therefore, Defendant Self Help cannot tbe held vicarious liable for the actions 0 ot inactions

of its S employees for purposes of the cause of action asserted by plaintiff under § 1983.

B. Tr. his Court Should Deeline to Exercise Supplemental Jurisdiction over any State
Law Claims set forth by Plaintiff .

_ Within plaintiff? Ss opposition, instead of arguing the validity of any federal claims, plaintiff

 

 

- forum to pursue an action based solely on state claims. See E ye he V. Thier

provides further detail-‘on nis vaguely alleged “pendent state claims” asserted on page two of the
Amended Complaint (Am, Compl. 2.) His efforts are simply. misplaced This i is not the correct :

2014 WL 5242605

 

at "9 (8. D. N. Y, Oct. 15, 2014Supreme Court and the Second Circuit have held, as a general
rule, "when. the -federal claims are dismissed ‘the ‘state. claims should -be © dismissed as -
well:"')(internal citations qmitted).

Plaintiff's -opposition papers offer no legal argument.as to why state claims should be

-_ allowed to proceed in this Federal Court. F urthermore, plaintiff's request specifically contradicts

the applicable procedural law. According to 28 U.S.C. § 1367(a), District Courts, such as is the

case here, shall only have supplemental jurisdiction over other claims related to the federal claims

 
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providing the Court with original jurisdiction. As there are no valid federal claims against
‘Defendant Self Help, any possible state law claims against it should be dismissed as well, — .

| In the event some federal law claims remain against other defendants at the close of motion
practice, i.e. the City of New. York, this Court has authority. to dismiss state law claims against .
Defendant Self Help where state law claims would pr edominate the remaining federal law claims
against a co-defendant. See 28 U. S. C. 8 1361(6)2), Furthermore, there i is no ove between the
state law ¢ claims against Defendant Self Help and any feder al claims that may remain against the .

ity. of New York.

Plaintiff: attempts: to argue that the New York Police Department were e acting as agents of aad eds

. the Defendant Self Help because its employees instigated his arrests for the: purpose of confining
him. However, this argument contradicts the evidence as offered by plaintiff himself.
We refer the Court to plaintiff's Amended Complaint. Within same, plaintiff makes

absolutely no allegations that Defendant Self Help or its employees attempted to utilize the police:

 

 

as its agents. Rather  plaintifi alleges that, on June 2, 20 1 8, Self. Help employees purportedly called

the police who brought him. to NYPH where he was invotuntaity confined for one day, (Am,

Compl. WW 12+ 22). Similarly, on August 3, 2018, ‘the Self Help employees once 2 again ‘contacted :

- the: police, ‘who thereafter removed plain: from his apartment and brought, him to NYPH for a
second time. (Id. { 29- -33,) | |

Based on plaintiff's own allegation, on both occasions, the calls to 9 4 | did not result in
plaintiff being falsely arrested or imprisoned; rather, plaintiff was ‘ingiely. transported to the
hospital for one day of medical eairoont. Moreover, plaintifh offers no evidence that Defendant
Self Help, ¢ or its employees, intended to or succeeded | in perauading« or influencing the police to

arrest plaintiff iinder false pretenses, Without any evidence of persuasion or i influence to support: .

 
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such allegations, the Appellate Courts have upheld dismissals of plaintiff's claim. See Carrington

y. City of New York, 201 A.D.2d 525, 526-27 (2d Dept. 1994).

In light of the above, there is simply ng valid legal basis for plaintiff to maintain the state.
based causes of action he improperly purports to allege in his opposition papers. For such reasons,
Court should decline to exercise supplemental jurisdiction over Plaintiff? s state law claims and
dismiss this action in its entirety as against Defendant Self Help, inclusive of any state claims,

—¢, Plaintiff failed to state a claim for false imprisonment, intentional or negligent
infliction of emotional distress, medical malpractice, battery or assault .-

Within his opposition, plaintiff names six causes of action that he failed to set forth within .

his Complaint, The opposition papers are completely devoid of any good faith basis for failing to

properly plead these causes of action in his Amended Complaint, nor does plaintiff request leave to

amend his pleadings to assert same, Furthermore, plaintiff failed to offer any allegations that

_ Defendant Self Help committed acts or omissions sufficient to fulfill the required elements of each

 

 

— cause of action alleged. For such reasons, plaintiff's has not adequately pleaded any state claims

that would survive a motion to dismiss or a motion for summary judgment in the event such claims
were allowed to be held in this forum. aN | |
| | CONCLUSION _
For the reasons set forth above, this Court should grant the within motion for an Order
pursuant to Rule 12(b)(6) of the P ederal Rules of .Civil Procedure thereby dismissing plaintif? S
Amended Complaint in its entirety and with prejudice.as it relates to Defendant Self Help and

grant any other such relief as deemed just and proper.

 
TO:

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VIA ECF, CERTIFIED. MAIL-RETURN
RECEIPT REQUESTED AND
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